            Case 2:24-ap-00009-FMD             Doc 36       Filed 02/03/25     Page 1 of 1




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    FT. MYERS DIVISION

 In re:                                           )
                                                  )
 Edgar Clarence Godfrey, III, and                 )            Case No. 2:23-BK-01370-FMD
 Nancy Jo Godfrey,                                )            Chapter 13
                                                  )
                 Debtors.                         )
                                                  )
                                                  )
 Kimberly Whelpley and Coastal                    )            Adversary No. 2:24-ap-00009-FMD
 Resource Staffing, LLC,                          )
                                                  )            CERTIFICATE OF SERVICE
                 Plaintiffs,                      )
                                                  )
 vs.                                              )
                                                  )
 Edgar Clarence Godfrey, III, and                 )
 Nancy Jo Godfrey,                                )
                                                  )
                 Defendants.                      )
                                                  )

The undersigned hereby certifies that she served the foregoing Notice of Intent to Subpoena on the debtor,

Nancy Godfrey, 510 Via Cintia, Punta Gorda FL 33952, via regular mail, first class United States mail,

postage fully pre-paid, on this Monday, February 3, 2025.



                                                      /s/ Jennifer S. Ivey____________________
                                                      Walker Gressette & Linton, LLC
                                                      District Ct. ID: 12515
                                                      Office: 66 Hasell St., Charleston, SC 29401
                                                      Mailing: P.O. Box 22167, Charleston, SC 29413
                                                      Tel: (843) 727-2216
                                                      ivey@wglfirm.com
